                                                 United States Bankruptcy Court
                                                 Western District of Washington
In Re:                                                                Case No. 12-22833
Marrero, Johniel J & Zigler-Marrero, Ziggy J
                                                                      CHAPTER 13 PLAN

                                                                         Original     Amended
                                                                      Date: March 1, 2014
                                                         Debtor(s).

I. Introduction:
A. Debtor is eligible for a discharge under 11 USC § 1328(f) (check one):
 xYes
 No
B. Means Test Result. Debtor is (check one):
    a below median income debtor
    an above median income debtor with positive monthly disposable income
    an above median income debtor with negative monthly disposable income

II. Plan Payments:
No later than 30 days after the filing of the Plan or the order for relief, whichever date is earlier, the debtor will commence making
payments to the Trustee as follows:
     A. AMOUNT: $ 1280
     B. FREQUENCY:
        Monthly
        Twice per month
        Every two weeks
        Weekly
     C. TAX REFUNDS: Debtor              COMMITS;          DOES NOT COMMIT; all tax refunds over $1,800 to funding the Plan.
     Committed refunds shall be paid in addition to the plan payment stated above. If no selection is made, tax refunds are
     committed.
     D. PAYMENTS: Plan payments shall be deducted from the Debtor’           s wages unless otherwise agreed to by the Trustee or ordered
        by the Court.
     E. OTHER:

III. Plan Duration:
The intended length of the plan is 60 months, and may be extended up to 60 months after the first payment is due if necessary for
completion. The plan’ s length shall not be less than the debtor ’
                                                                 s applicable commitment period as defined under 11 U.S.C. §§
1322(d) and 1325(b)(4).

IV. Distribution of Plan Payments:
Upon confirmation, the Trustee shall disburse funds received in the following order and creditors shall apply them accordingly,
PROVIDED THAT disbursements for domestic support obligations and federal taxes shall be applied according to applicable
non-bankruptcy law:
    A. ADMINISTRATIVE EXPENSES:
         1. Trustee. The percentage set pursuant to 28 USC §586(e).
         2. Other administrative expenses. As allowed pursuant to 11 USC §§ 507(a)(2) or 707(b).
         3. Attorney's Fees: Pre-confirmation attorney fees and costs shall not exceed $ 3,500.00. $ 1,000.00 was paid prior to
             filing. To the extent pre-confirmation fees and costs exceed $3,500, an appropriate application, including a complete
             breakdown of time and costs, shall be filed with the Court within 21 days of confirmation.
             Approved pre-confirmation fees shall be paid as follows (check one):
             a.       Prior to all creditors;
             b.       Monthly payments of $                      ;
             c.       All remaining funds available after designated monthly payments to the following creditors:
             d.       Other:
             If no selection is made, fees will be paid after monthly payments specified in Sections IV.B and IV.C.

    B. CURRENT DOMESTIC SUPPORT OBLIGATION: Payments to creditors whose claims are filed and allowed pursuant to
       11 USC § 502(a) or court order as follows (if left blank, no payments shall be made by the Trustee):
Creditor                                                                                                               Monthly Amount
Kenneth Wayne Lackey, Jr.                                                                                                         $320


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  C. SECURED CLAIMS: Payments will be made to creditors whose claims are filed and allowed pursuant to 11 USC § 502(a)
     or court order, as stated below. Unless ranked otherwise, payments to creditors will be disbursed at the same level. Secured
     creditors shall retain their liens until the payment of the underlying debt, determined under nonbankruptcy law, or
     discharge under 11 USC § 1328, as appropriate. Secured creditors, other than creditors holding long term obligations
     secured only by a security interest in real property that is the debtor’ s principal residence, will be paid the principal amount
     of their claim or the value of their collateral, whichever is less, plus per annum uncompounded interest on that amount from
     the petition filing date.

       Interest rate and monthly payment in the plan control unless a creditor timely files an objection to confirmation. If a creditor
       timely files a proof of claim for an interest rate lower than that proposed in the plan, the claim shall be paid at the lower
       rate. Value of collateral stated in the proof of claim controls unless otherwise ordered following timely objection to claim.
       The unsecured portion of any claim shall be paid as a nonpriority unsecured claim unless entitled to priority by law.

       Only creditors holding allowed secured claims specified below will receive payment from the Trustee. If the interest
       rate is left blank, the applicable interest rate shall be 12%. If overall plan payments are sufficient, the Trustee may increase
       or decrease post-petition installments for ongoing mortgage payments, homeowner’        s dues and/or real property tax holding
       accounts based on changes in interest rates, escrow amounts, dues and/or property taxes.

            1. Continuing Payments on Claims Secured Only by Security Interest in Debtor’
                                                                                        s Principal Residence (Interest
       included in payments at contract rate, if applicable):
                                                                                                                                 Monthly
Rank Creditor                              Nature of Debt                           Property                                     Payment
     None

           2.    Continuing Payments on Claims Secured by Other Real Property (Per annum interest as set forth below):
                                                                                                                 Monthly         Interest
Rank Creditor                          Nature of Debt                    Property                                Payment            Rate
     None

           3. Cure Payments on Mortgage/Deed of Trust/Property Tax Arrearage (If there is a property tax arrearage, also
       provide for postpetition property tax holding account at Section XII):
                Periodic                                                                                               Arrears Interes
Rank            Payment Creditor                                    Property                                       to be Cured t Rate
                  None

  4.   Payments on Claims Secured by Personal Property:

                 a. 910 Collateral.
       The Trustee shall pay the contract balance as stated in the allowed proof of claim for a purchase-money security interest in
       any motor vehicle acquired for the personal use of the debtor(s) within 910 days preceding the filing date of the petition or
       in other personal property acquired within one year preceding the filing date of the petition as follows. Debtor stipulate that
       pre-confirmation adequate protection payments shall be paid by the Trustee as specified upon the creditor filing a proof of
       claim. If no amount is specified, the Trustee shall pay the amount stated as the “Equal Periodic Payment”  .

                                                                                                             Pre-Confirmation
                                                                                                                    Adequate
        Equal Periodic                                                                                             Protection Interes
Rank         Payment Creditor                                       Description of Collateral                        Payment t Rate
               510.37 Partners Fed Credit Union                     2011 Volkswagon Tiguan                              510.37       4.5

            b. Non-910 Collateral.
       The Trustee shall pay the value of collateral stated in the proof of claim, unless otherwise ordered following timely objection
       to the claim, for a purchase-money security interest in personal property which is non-910 collateral. Debtor stipulates that
       pre-confirmation adequate protection payments shall be paid by the Trustee as specified upon the creditor filing a proof of
       claim. If no amount is specified, the Trustee shall pay the amount stated as the “  Equal Periodic Payment” .
                                                                                                             Pre-Confirmation
        Equal Periodic                                      Debtor(s) Value                                   Adeq. Protection Interes
Rank         Payment Creditor                                  of Collateral Description of Collateral               Payment t Rate




  D. PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to priority in the order stated
     in 11 USC § 507(a).


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    E. NONPRIORITY UNSECURED CLAIMS: From the balance remaining after the above payments, the Trustee shall pay filed
       and allowed nonpriority unsecured claims as follows:

             1. Specially Classified Nonpriority Unsecured Claims. The Trustee shall pay the following claims prior to other
         nonpriority unsecured claims as follows:
                                                              Amount of     Percentage
Rank Creditor                                                    Claim       to be Paid Reason for Special Classification
     None

         2.   Other Nonpriority Unsecured Claims (check one):
                  a.     100% paid to allowed nonpriority unsecured claims. OR
                  b.     Debtor shall pay at least $ 0 to allowed nonpriority unsecured claims over the term of the plan. Debtor
                  estimates that such creditors will receive approximately 2.04 % of their allowed claims.

V. Secured Property Surrendered:
The secured property described below will be surrendered to the following named creditors on confirmation. Upon confirmation, all
creditors to which the debtor is surrendering property pursuant to this section are granted relief from the automatic stay to enforce
their security interest against the property including taking possession and sale.
 Creditor                                                             Property to be Surrendered
 Partners Federal Credit Union                                        2008 Chrysler Sebring

VI. Executory Contracts and Leases:
The debtor will assume or reject executory nonresidential contracts or unexpired leases as noted below. Assumption will be by
separate motion and order, and any cure and/or continuing payments will be paid directly by the debtor under Section VII, unless
otherwise specified in Section XII with language designating that payments will be made by the Trustee, the amount and frequency
of the payments, the ranking level for such payments with regard to other creditors, the length of the term for continuing payments
and the interest rate, if any, for cure payments. Any executory contract or unexpired lease not assumed pursuant to 11 USC § 365(d)
is rejected. If rejected, the debtor shall surrender any collateral or leased property and any duly filed and allowed unsecured claim for
damages shall be paid under Section IV.E.2.
Contract/Lease                                                       Assumed or Rejected
The Lodge at Redmond Ridge                                           Reject

VII. Payments to be made by Debtor and not by the Trustee:
The following claims shall be paid directly by the debtor according to the terms of the contract or support or withholding order, and
shall receive no payments from the Trustee. (Payment stated shall not bind any party.)

A. DOMESTIC SUPPORT OBLIGATIONS: The claims of the following creditors owed domestic support obligations shall be paid
   directly by the debtor as follows:
                                                                                                             Current
                                                                                                            Monthly            Monthly
                                                                                                             Support          Arrearage
Creditor                                                                                                   Obligation          Payment
Name

B. OTHER DIRECT PAYMENTS:
                                                                                                            Amount of           Monthly
Creditor                                           Nature of Debt                                              Claim            Payment
None

VIII. Revestment of Property
Unless otherwise provided in Section XII, during the pendency of the plan all property of the estate as defined by 11 USC § 1306(a)
shall remain vested in the debtor, except that earnings and income necessary to complete the terms of the plan shall remain vested in
the Trustee until discharge. The debtor shall not, without approval of the Court, sell or otherwise dispose of or transfer real property
other than in accordance with the terms of the confirmed plan.

IX. Liquidation Analysis Pursuant to 11 USC § 1325(a)(4)
The liquidation value of the estate is $ 0. In order to obtain a discharge, the debtor must pay the liquidation value or the total of
allowed priority and nonpriority unsecured claims, whichever is less. Under 11 USC §§ 1325(a)(4) and 726(a)(5), interest on allowed
unsecured claims under Section IV.D and IV.E shall be paid at the rate of 0.00% per annum from the petition filing date (no interest
shall be paid if left blank).

X. Other Plan Provisions


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A. No funds shall be paid to nonpriority unsecured creditors until all secured, administrative and priority unsecured creditors are
   paid in full, provided that no claim shall be paid before it is due.
B. Secured creditors shall not assess any late charges, provided payments from the plan to the secured creditor are current, subject
   to the creditor’ s rights under state law if the case is dismissed.
C. The holder of a secured claim shall file and serve on the Trustee, debtor and debtor ’     s counsel a notice itemizing all fees,
   expenses or charges (1) that were incurred in connection with the claim after the bankruptcy case was filed, and (2) that the
   holder asserts are recoverable against the debtor or the debtor’    s principal residence. The notice shall be served within 180 days
   after the date on which the fees, expenses or charges are incurred, per Fed. R. Bankr. P. 3002.1(c).
D. Mortgage creditors shall file and serve on the Trustee, debtor and debtor ’     s counsel a notice of any change in the regular monthly
   payment amount, including any change that results from an interest rate or escrow adjustment, no later than 21 days before
   before a payment in the new amount is due, per Fed. R. Bankr. P. 3002.1(b).
E. Provision by secured creditors or their agents or attorneys of any of the notices, statements or other information provided in this
   section shall not be a violation of the 11 USC § 362 automatic stay or of privacy laws.

XI. Certification:
A. The debtor certifies that all post-petition Domestic Support Obligations have been paid in full on the date of this plan and will
    be paid in full at the time of the confirmation hearing. Debtor acknowledges that timely payment of such post-petition Domestic
    Support Obligations is a condition of plan confirmation pursuant to 11 USC § 1325(a)(8).
B. By signing this plan, the debtor and counsel representing the debtor certify that this plan does not alter the provisions of Local
    Bankruptcy Form 13-4, except as provided in Section XII below. Any revisions to the form plan not set forth in Section XII shall
    not be effective.

XII. Additional Case-Specific Provisions: (must be separately numbered)
A. Child support arrearages are to be paid in full during the life of the plan.

/s/ Adria Vondra                                  /s/ Johniel J Marrero                              5015                March 1, 2014
Attorney for Debtor(s)                            Debtor                                             Last 4 digits SSN Date
                                                  /s/ Ziggy J Zigler-Marrero                         6452
                                                  Debtor                                             Last 4 digits SSN




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